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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. SA CV 21-01196-FMO (DFM) Date: October 19, 2021

 

Title Crystal S. Booth v. Brea Police Department et al.

 

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

Nancy Boehme Court Reporter
Deputy Clerk Not Present
Attorney(s) for Plaintiff(s): Attorney(s) for Defendant(s): |
Not Present Not Present

 

Proceedings: (IN CHAMBERS) Order to Show Cause

On July 12, 2021, Plaintiff filed a civil rights complaint against the Brea Police
Department, Sergeant C. Winger, Roberto Mejia, and John Doe. See Dkt. 1. After more
than three months, there is no record that Plaintiff has properly served any defendant. “If a
defendant is not served within 90 days after the complaint is filed, the court—on its own
motion or on its own after notice to the plaintiff—must dismiss the action without prejudice
against that defendant or order that service be made within a specified time.” Fed. R. Civ.

P. 4(m). The Court “must extend” the time for service if the plaintiff shows good cause for
the failure. Id.

Plaintiff is thus ordered to show cause, in writing, no later than November 1, 2021
why this action should not be dismissed for lack of prosecution. The Court will consider the
filing of the proof of service of summons and complaint as to all defendants as an
appropriate response to this order. Failure to respond to this order will result in a
recommendation of dismissal of this action.

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